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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:leagueofwomenvotersofgreeley,weldcounty,incvtheboardofcountycommissionersofthecountyofweldcountyno24sc394july1,2024" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;League of Women Voters of Greeley, Weld County, Inc.&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Latino Coalition of Weld County&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Barbara Whinery&lt;/span&gt;&lt;/span&gt;; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Stacy Suninga&lt;/span&gt;; &lt;span class="ldml-role"&gt;Petitioners&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The Board of County Commissioners of the County of Weld County&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC394&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;July 1, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="287" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="287" data-sentence-id="304" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_304"&gt;&lt;span class="ldml-cite"&gt;Case No. 24CA774&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="344" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="344" data-sentence-id="360" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari Pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 50 GRANTED.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="429" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="429" data-sentence-id="445" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in concluding that &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;30-10-306,
 et seq., C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, implies a private right of action.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="584" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="584" data-sentence-id="600" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in concluding that &lt;span class="ldml-entity"&gt;plaintiff&lt;/span&gt;-&lt;span class="ldml-entity"&gt;appellants&lt;/span&gt;
 had standing to sue the Board based on nothing more than
 generalized grievance constituting pure procedural
 irregularities.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="818" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="818" data-sentence-id="834" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in concluding as a matter of law that
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_834"&gt;&lt;span class="ldml-cite"&gt;section 30-10-306, et seq.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, applies to a home rule county
 with a conflicting charter.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1006" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1006" data-sentence-id="1022" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; erred in determining there is no conflict
 between the provisions of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1022"&gt;&lt;span class="ldml-cite"&gt;section 30-10-306, et seq.&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and the
 &lt;span class="ldml-entity"&gt;Weld County&lt;/span&gt; home rule charter.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1199" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1199" data-sentence-id="1215" class="ldml-sentence"&gt;Whether
 the Board must be directed to engage in a county commissioner
 redistricting process that complies with the redistricting
 &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; for future elections.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;